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                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                Eastern Division

Shannon E. Hall, et al.
                                  Plaintiff,
v.                                                   Case No.: 1:22−cv−00071
                                                     Honorable Rebecca R. Pallmeyer
Abbott Laboratories, et al.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 14, 2025:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: Members of the
public and media will be able to call in to listen to the in−person pre−trial conference for
Mar v. Abbott , 22−cv−232 scheduled for 4/17/2025 at 9:00 a.m. Participants will be
muted upon entry to the conference. The call number is 650−479−3207 and access code is
2313 755 6066##. Persons granted remote access to proceedings are reminded of the
general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Violation of these prohibitions may result in sanctions, including removal of
court issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Mailed notice. (cp, )




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